     Case 8:18-cr-00140-JLS Document 209 Filed 08/04/21 Page 1 of 7 Page ID #:1833



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     UNITED STATES OF AMERICA
 9
                             UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                No. SEE ATTACHMENT A
12
                Plaintiff,                    NOTICE OF DEPARTURE FROM THE
13                                            UNITED STATES ATTORNEY’S OFFICE;
                      v.                      ATTACHMENT A
14
     SEE ATTACHMENT A,
15
                Defendant.
16

17         Plaintiff, United States of America hereby advises the Court
18   that Scott D. Tenley is departing the United States Attorney’s
19   Office, and all of the cases in Attachment A should have the contact
20   information replaced with the generic USAO email used for docketing.
21   //
22   //
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     Case 8:18-cr-00140-JLS Document 209 Filed 08/04/21 Page 2 of 7 Page ID #:1834



 1    Dated: July 30, 2021                 Respectfully submitted,

 2                                         TRACY L. WILKISON
                                           Acting United States Attorney
 3
                                           SCOTT M. GARRINGER
 4                                         Assistant United States Attorney
                                           Chief, Criminal Division
 5
                                                 /s/
 6                                         SCOTT D. TENLEY
                                           Assistant United States Attorney
 7
                                           Attorneys for Plaintiff
 8                                         UNITED STATES OF AMERICA

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                        ATTACHMENT A
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     Case 8:18-cr-00140-JLS Document 209 Filed 08/04/21 Page 4 of 7 Page ID #:1836



 1   2:11-cr-00575-PSG

 2   2:11-cr-01056-DMG

 3   2:12-cr-00722-TJH

 4   2:13-cr-00100-MMM

 5   2:13-cr-00385-DMG

 6   2:13-cr-00388-JVS

 7   2:13-cr-00542-MWF

 8   2:13-cr-00756-GHK

 9   2:13-cr-00781-GAF

10   2:14-cr-00185-JAK

11   2:14-cr-00324-JFW

12   2:15-cr-00131-JFW

13   2:15-cr-00287-JAK-ODW

14   2:15-cr-00398-SJO

15   2:15-cr-00546-CJC

16   2:16-cr-00165-CJC

17   2:16-cr-00327-CJC-

18   2:16-cr-00803-JLS-1

19   2:16-cv-04408-TJH

20   2:16-cv-04437-TJH

21   2:17-cr-00742-JLS

22   2:18-cr-00077-DOC

23   2:18-cr-00613-JFW

24   2:18-cr-00666-DOC

25   2:19-00499-DOC

26   2:19-cr-00647-JFW

27   2:19-cr-00663-JFW

28   2:20-cr-00123-DOC

                                           2
     Case 8:18-cr-00140-JLS Document 209 Filed 08/04/21 Page 5 of 7 Page ID #:1837



 1   2:20-cv-01676-CJC

 2   2:20-cv-07986-ODW-JEM

 3   2:20-cv-09699-DMG

 4   5:14-cv-01743-JVS-DFM

 5   8:10-cr-00239-JVS

 6   8:12-cr-00023-JLS

 7   8:12-cr-00063-AG

 8   8:12-cr-00225-AG

 9   8:12-cr-00282-JLS

10   8:13-cr-00190-CJC

11   8:13-cr-00224-JVS

12   8:13-cv-00956-AG-JCG

13   8:14-cr-00034-JLS

14   8:15-cr-00009-CJC

15   8:15-cr-00077-JLS

16   8:15-cr-00078-CJC

17   8:15-cr-00095-AG

18   8:15-cr-00104-UA

19   8:15-cr-00114-TJH

20   8:15-cr-00115-DOC

21   8:15-cr-00138-DOC

22   8:15-cr-00142-JLS

23   8:15-cr-00147-JLS

24   8:15-cr-00148-JLS

25   8:15-cr-00150-CJC

26   8:15-cr-00155-JLS

27   8:15-cr-00158-AG

28   8:15-cr-00159-CJC

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     Case 8:18-cr-00140-JLS Document 209 Filed 08/04/21 Page 6 of 7 Page ID #:1838



 1   8:15-cr-00161-AG-TJH

 2   8:15-cr-00161-AG

 3   8:16-cr-00008-JLS

 4   8:16-cr-00014-JLS

 5   8:16-cr-00029-CJC

 6   8:16-cr-00037-CJC

 7   8:16-cr-00054-CJC

 8   8:16-cr-00061-CJC

 9   8:16-cr-00138-CJC

10   8:16-cr-00139-CJC

11   8:16-cr-00149-DOC

12   8:16-cr-00164-DOC

13   8:16-cr-00168-JVS

14   8:16-cr-00171-AG

15   8:17-cr-00103-CJC

16   8:18-cr-00014-JLS

17   8:18-cr-00037-AG

18   8:18-cr-00040-JLS

19   8:18-cr-00041-DOC

20   8:18-cr-00057-JLS

21   8:18-cr-00098-JLS

22   8:18-cr-00108-RGK

23   8:18-cr-00120-JLS

24   8:18-cr-00121-JLS

25   8:18-cr-00124-JLS

26   8:18-cr-00125-JLS

27   8:18-cr-00140-JLS

28   8:18-cr-00183-CJC

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 1   8:18-cr-00206-JVS

 2   8:18-cr-00229-JLS

 3   8:18-cr-00230-JLS

 4   8:19-cr-00038-JLS

 5   8:19-cr-00043-JLS

 6   8:19-cr-00045-JLS

 7   8:19-cr-00050-AG

 8   8:19-cr-00070-CJC

 9   8:19-cr-00121-JLS

10   8:19-cr-00150-DOC

11   8:19-cr-00173-JLS

12   8:19-cr-00203-JLS

13   8:19-cv-02362-JLS-DFM

14   8:20-cr-00039-DOC

15   8:20-cr-00040-DOC

16   8:20-cr-00058-JVS

17   8:20-cr-00072-DOC

18   8:20-cr-00073-JLS

19   8:20-cr-00133-AB

20   8:20-cv-00282-JVS

21   8:21-cr-00017-JVS

22   8:21-cr-00020-DOC

23   8:21-cr-00021-CJC

24   8:21-cr-00027-JVS

25   8:21-cr-00034-CJC

26   8:21-cr-00067-DOC

27   8:21-cr-00068-DOC

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